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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 Strike 3 Holdings, LLC
                                                         Civil Action No. 2:18-cv-10619

 Plaintiff,
                          V.


 John Doe Subscriber Assigned IP Address
 24.0.13.70,


 Defendant.


                                ORDER TO SHOW CAUSE
        The Court having received and reviewed the attached November 16, 2018 Opinion of the

Honorable Royce C. Lamberth, U.S.D.J., United States District Court, District of Columbia (C.A.

No. 18-1425 (RCL)), and the Court finding good cause to issue this Order,

                                       4th
        IT IS HEREBY ORDERED this            day of December, 2018, that Strike 3 Holdings, LLC,

shall show cause in writing by December 21, 2018, why this Court should not adopt and follow

Judge Lamberth’s attached Opinion and Order and grant Defendant’s Motion for Protective Order

(ECF No. 11).

                                                                              s/CathyL Waldor
                                                                         CATHY L. WALDOR
                                                                 United States Magistrate Judge
 _________________)




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    )
  STRIKE 3 HOLDINGS, LLC,                           )
                                                    )
                 Plaintiff,                         )
                                                    )
         v.                                         ) Civil Case No. 18-1425
                                                    )
  JOHN DOE subscriber assigned                      )
  I? address 73.180.154.14,                         )
                                                    )
                Defendant.                          )

                                    MEMORANDUM OPINION

         Strike 3 Holdings, LLC froduces “award winning, &itically acclaimed adult thotion

  pitures.” Compi.    2. Or, as’ the Miami Herald describes, it is “[t]he Steven Spielberg of porn.”

  Adiel Kaplan, The Steven Spielberg ofPorn Sues to Make Floridians Stop Pirating His Raunchy

  Videos, Miami Herald (July 12, 2018, 4:48 PM), https://www.miamiherald.comlnews/local/

 article2l 4634930.html.

         Strike 3 is also a copyright troll. Its swarms of lawyers hound people who allegedly

 watch their content through Bittorrent, an online service enabling anonymous users to share

 videos despite their copyright protection. Since Bittorrent masks users’ identities, Strike 3 can

 only identify an infringing Internet protocol (IP) address, using geolocation technology to trace

 that address to a jurisdiction. This method is famously flawed: virtual private networks and onion

 routing spoof IP addresses (for good and ill); routers and other devices are unsecured; malware

 cracks passwords and opens backdoors; multIple people (family, roommates, guests, neighbors,

 etc.) share the same I? address; a geolocation service might randomly assign addresses to some

 ‘general location if it cannot more specifically identify another. See, e.g., James Temple, Lawsuit
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  Says Grandma Illegally Downloaded Porn, S.F. Chron. (July 15, 2011, 4:00 AM), https://

  www.sfgate.com!business/article/Lawsuit-says-grandma-illegally-downloaded-pom

  2354720.php. Simply put, inferring the person who pays the cable bill illegally downloaded a

  specific file is even less trustworthy than inferring they watched a specific TV show. But in

  many cases, the method is enough to force the Internet service provider (ISP) to unmask the I?

  address’s subscriber. And once the ISP outs the subscriber, permitting them to be served as the

 defendant, any future Google search of their name will turn-up associations with the websites

  Vixen, Blacked, Tushy. and Blacked Raw. The first two are awkward enough, but the latter two

 cater to even more singular tastes.

         Little wonder so many defendants settle. Indeed, the copyright troll’s succes rate comes

 not from the Copyright Adt, but from the law of large numbers. According to PACER, over the

 past thirteen months, Strike 3 has filed 1849 cases just like this one in courts across the

 country—forty in this district alone—closely following the copyright trolls who together

 consumed 58% of the federal copyright docket in 2015. These serial litigants drop cases at the

 first sign of resistance, preying on low-hanging fruit and staying one step ahead of any

 coordinated defense. They don’t seem to care about whether defendant actually did the

 infringing, or about developing the law. If a Billy Goat Gruff moves to confront a copyright troll

 in court, the troll cuts and runs back under its bridge. Perhaps the trolls fear a court disrupting

 their rinse-wash-and-repeat approach: file a deluge of complaints; ask the court to compel

 disclosure of the account holders; settle as many claims as possible; abandon the rest. See

 Matthew Sag & Jake Haskell, Defense Against the Dark Arts of Copyright Trolling, 103 Iowa L.

 Rev. 571, 575-80 (2018); see also infra text accompanying notes 1—4.




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         Here, that approach led Strike 3 astray, Because Strike 3’s need for discovery does not

  outweigh defendant’s privacy expectation, the Court will deny Strike 3’s ex parte motion to

  subpoena defendant’s ISP to discover defendant’s identity prior to the 26(f) conference. That

  sunders Strike 3’s entire case, since a failure to identify defendant makes effectuating service

  impossible. So the Court will dismiss this case without prejudice.

  I. Strike 3 cannot subpoena defendant’s ISP because its discovery request tacks sufficient
     specificity and does not overcOme defendant’s privacy expectation.

         Strike 3’s request for early discovery falls short of Rule 26’s requirements. A plaintiff

  can only discover an unknown defendant’s identity through a court order under Rule 26(d)(1).

 But the rule cabins a district court’s discretion to order discovery to circumstances where a

 plaintiff shows good cause. See Fed. R. Civ. P.26(b)(1). And to show gdod cause, the D.C.

 Circuit requires establishing likely personal jurisdiction. Af Holdings, LLC v. Does 1-1058, 752

 f.3d 990, 995 (D.C. Cir. 2014). Here, Strike 3 clears that hurdle. See Id. at 996 (suggesting using

 geolocation services to track an infringing IP address to D.C. justifies a good-faith belief this

 court has personal jurisdiction).

         Yet the D.C. Circuit never said that was the only requirement. For one, the Court must

 also balance Strike 3’s need for discovery with a potentially-noninfringing defendant’s right to

 be anonymous. Qnly the Second Circuit has articulated this balance, looking to the plaintiffs

 showing of a prima fade claim of actionable harm; their discovery request’s specificity; their

 alternative means to obtain the subpoenaed infonnation: the need for the subpoenaed information

 to advance the claim; and the objecting party’s privacy expectation. Arista Records, LLC v. Doe

 3, 604 f.3d 110, 119 (2d Cir. 2010) (citing Sony Music Entm ‘tinc.    V.   Does 1-40, 326 F. Supp. 2d

 556, 564-65 (S.D.N.Y. 2004) (Chin, J.)); see also, e.g., Call ofthe Wild Movie, LLC v. Does 1-




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  1,062, 770 F. Supp. 2d 332, 351 (D.D.C. 2011) (Howell, J.) (applying this test); Arista Records

  v. Does 1-19, 551 F. Supp. 2d 1, $ (D.D.C. 200$) (Kollar-Kotelly, J.)(same).

          One can hardly blame the D.C. Circuit for its silence. Of the forty cases Strike 3 has filed

  in this district (including seven on a single day), none have reached the Court of Appeals.

  Twenty-two have been voluntarily dismissed, all but one following the same formula: Strike 3

  files a complaint (identical in every case except for the infringing IP address). A few weeks later,

  Strike 3 files a motion to subpoena the anonymous defendant’s ISP prior to the Rule 26(f)

  conference (identical in every case except for the particular ISP to be served—Comcast, Verizon,

 or RCN). Satisfied by Strike 3’s showing of likely personal jurisdiction, the court grants the

 motion, usually providing       at least twenty days for the defendant to move to quash the subpoena,
 and sometimes providing for defendant’s continued anonymity. Nothing happens for a few

 weeks, and then Strike 3 voluntarily dismisses the suit) In the lone exception, Civil Case No, 1$-

 810, the defendant successfully obtained the court’s approval to proceed anonymously, and

 appeared to be preparing a responsive pleading—but Strike 3 dropped the case. The eighteen

 pending cases are no different: in twelve, the judge recently granted the early discovery motion

 and Strike 3 is waiting for the ISP to respond2; in five, Strike 3’s early discovery motion remains

 pending3; and in one, Strike 3 hasn’t yet filed its discovery motion.4 This sounds crazy, but its

 par for the copyright-trolling course. According to PACER, Malibu Media, LLC--another adult



   Civil Case Nos. 17-2338, 17-2342, 17-2344, 17-2345, 17-2346, 17-2347, 18-536, 1$-57 (allowing defendant to
 anonymously move to quash), 18-804, t8-805 (allowing defendant to move to proceed anonymously), 18-806, 18-
 807 (requiring the defendant’s anonymity until further court order), 18-806, 18-1193, 18-1197 (prohibiting Strike 3
 or the ISP from publicly revealing the defendant’s identity), 18-1199 (allowing defendant to move to proceed
 anonymously), 18-1424, 18-1426, 18-1430, 18-1432, 18-1894.
 2
   Civil Case Nos. 18-1192 (allowing defendant to move to proceed anonymously), 18-1198 (allowing defendant to
 move to proceed anonymously), 18-1427, 18-1429, 18-1431, 18-1898 (requiring the defendant’s anonymity until
 further court order), 18-1699, 18-1902, 18-1903 (allowing defendant to move to proceed anonymously), 18-1904
 (requiring the defendant’s anonymity until further court order), 1 8-2205, 18-2206.
   Civil Case Nos. 18-1425 (this case), 18-2204, 18-2210, 18-2211, 18-2212.
   Civil Case No. 18-1896.

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 film company—filed 150 cases against anonymous defendants in this district (7183 nationally)

 from 2012 to 2018, some joining dozens of individuals. How many of those cases reached the

 Court of Appeals? Zero.

         Although the D.C. Circuit has never had the chance to elaborate on its test, the

 undersigned considers the Second Circuit’s test very persuasive. And not for nothing, it comports

 with the D.C. Circuit’s more general observation that, when evaluating good cause under Rule

 26, “interests in privacy may call for a measure of extra protection.” In re Seated Case (Medical

 Recordr), 381 F.3d 1205, 1215 (D.C. Cir. 2004) (internal quotation marks omitted) (quoting Fed.

 R. Civ; P. 26(b) advisory’committee’s note (1970)). “Moreover, in determining which interests to

 weigh in the Rule 26 balance, courts look to statutory confidentiality provisions, even if they do

 not create enforceable privileges.” Id. at 1215-16. In this case, the Cotth looks to the

 Communications Act, which protects cable subscribers’ names and addresses. 47 U.S.C.         §
 551(c). But cf id. at (c)(2)(B) (providing for disclosure “pursuant to a court order authorizing

 such disclosure, if the subscriber is notified of such order by the person to whom the order is

 directed”).

        Applying the Second Circuit’s test, and placing great weight on defendant’s privacy

 expectation, the Court will deny Strike 3’s motion for early discovery. To be sure, Strike 3’s

 alleged ownership of an infringed copyright sets forth a prima fade claim. So too is the

 requested information necessary to advance Strike 3’s claim, just as subpoenaing the ISP is

 necessary to get the information.

        But Strike 3’s request lacks the type of specificity the Second Circuit’s tes.t requires: that

 the request will identify a copyright infringer who can be sued. See Sony Music, 326 F. Supp. 2d

 at 566; see a/so Soo Farkv. Thompson, 851 F.3d 910, 928 n.21 (9th Cir. 2017) (“[IJn



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  circumstances ‘where the identity of alleged defendants will not be known prior to the filing of a

  complaint.   .   .   the plaintiff should be given an opportunity through discovery to identify the

  unknown defendants, unless it is clear.. that the complaint would be dismissed on other
                                                  .




  grounds” (quoting Gillespie v. Civiletti, 629 f.2d 637, 642-43 (9th Cir. 1980))). Strike 3 could

 not withstand a 1 2(b)(6) motion in this case without resorting to far more intensive discovery

 machinations sufficiently establishing defendant did the infringing—examining physical

 evidence (at least the computers, smartphones, and tablets of anyone in the owner’s house, as

 well as any neighbor or houseguest who shared the Internet), and perhaps even interrogatories,

 document requests, or depositions. Strike 3’s requested subpoena thus will’ not—and may

 never—identify a defendant who could be sued.

         Similarly,’ even though “defendants ‘have little expectation of privacy in downloading and

 distributing copyrighted [content] without permission,” Sony Music, 326 F. Supp. 2d at 566-67,

 Strike 3 fails to give the Court adequate confidence this defendant actually did the infringing.

 Given this uncertainty, Strike 3 cannot overcome defendant’s weighty privacy expectation.

 Imagine having your name and reputation publicly—and permanently—connected to websites

 like Tushy and Blacked Raw. (Google them at your own risk.) How would an improperly accused

 defendant’s spouse react’? His (or her) boss? The head of the local neighborhood watch? The

 risks of a false accusation are real; the consequences are hard to overstate and even harder to

 undo. And Strike 3’s flawed identification method cannot bear such great weight. Defendant may

 not be entitled to the same presumption of innocence a criminal defendant enjoys, but the Court

 remains uncomfortable publicly presupposing defendant partook in particularly prurient

 pornography given defendant’s tenuous connection to the infringement. Since Strike 3’s




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  discovery request lacks the required specificity and does not overcome defendant’s privacy

  expectation, the Court will deny Strike 3’s motion for early discovery.

           Though Strike 3 admits a protective order could allow defendant to anonymously

  challenge the subpoena, Br. at 8, that hardly seems fair. That drags defendant into court and

  foists on them the unenviable burden of hiring a lawyer or defending their reputation pro se, all

  before they’ve even been served. That’s not how our system of litigation is supposed to work.

  Moreover, the inconsistency with which courts permit defendants to proceed anonymously

  illustrates the ineffectiveness of this shield more generally. See supra notes 1—2 and

  accompanying text.

          An honest copyright holder might balk at this result, misunderstanding it to slash•

 congressionaIl endowed defenses againt increasingly creative and covert cyberpirates. But the

 typical case does not involve pornography,5 nor is this even mn-of-the-mill porn. By extension,

 two factors limit today’s holding. First is this content’s aberrantly salacious nature. Second is the

 legion pitfalls associated with Strike 3’s tracking and identification of infringers. Given these

 high stakes—unlikely to appear in more typical cases—the Court will not accept the risk of

 misidentification. Maybe someday someone will show the Court a method to identify infringers

 with sufficiently less risk of false accusations. But because Strike 3 fails to do so here, it cannot

 subpoena defendant’s ISP.




   The Court notes “it is unsettled in many circuits”—including this one—”whether pornography is in fact entitled to
 protection against copyright infringement.” Liberty Media Holdings, LLC v. Swarm Sharing Hash file, 821 F. Supp.
 2d 444, 447 (D. Mass. 201 1); see also Nat Phase Disth., Inc. v. John Does 1-2 7, 284 F.R.D. 165, 171 (S.D.N.Y.
 2012) (“[IJf the Motion Picture is considered obscene, it may not be eligible for copyright protection.”). But see
 Jartech, Inc. v. Clancy, 666 F.2d 403, 406 (9th Cir. 1982) (extending copyright protection to pornography); Mitchell
 Brothers Film Group v. Ci,7ema Adult Theater, 604 f.2d 852, 854-58 (5th Cir. 1979) (same).

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  IL Because Strike 3 cannot effectuate service without subpoenaing defendant’s ISP, its
     case must be dismissed.

         Denying Strike 3’s discovery motion dooms its claim. Simply put, Strike 3’s inability to

  identify defendant makes effectuating service or prosecuting the case impossible. So because

  Strike 3 cannot proceed with its claim, the Court dismisses it.

         Strike 3 does not dispute this logic. It concedes “[d]efendant must be identified before

 this suit can progress.” See Br. at 5-6 (internal quotation marks omitted) (quoting Malibu Media,

 LLC v. Doe, 177 F. Supp. 3d 554, 556 (D.D.C. 2016)). But “[w]ithout information from the ISP,”

 Strike 3 admits it cannot “correlate the [infringing] I? address to its subscriber and identify

 Defendant as the person assigned the I? address.” Br. at 6 (internal quotation marks omitted)

 (quoting Strike 3 Holdings v. Doe, No. 17-1680, 2017 WL 50J1474, at *4 (D. Conn. Nbv. 1,

 2017)). And so Strike 3 “cannot name and serve those whom they allege to have infringed upon

 their copyrights.” Br. at 6 (internal quotation marks omitted) (quoting Call ofthe Wild Movie,

 LLC, 770 F. Supp. 2d at 352-53).

         Strike 3’s lone rebuttal points out that “courts have rejected the dismissal of suits against

 unnamed defendants.     .   .   until the plaintiff has had some opportunity for discovery to learn [the

 defendants’] identities.” Br. at 6 (alterations in original) (internal quotation marks omitted)

 (quoting Davis v. Kelly, 160 F.3d 917, 921 (2d Cir. 199$)); see also Br. at 6 (quoting Malibu

 Media, LLC v. Doe, No. 15-986, 2015 WL 5173890 at * 1 (D.D.C. Sept. 2, 2015)). But as this

 opinion has already explained, this case is exceptional, limited as Part I describes. Because Strike

 3 chases a dead-end, the Court will deny as moot Strike 3’s motion to extend the service deadline

 and dismiss the case.




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    III. Conclusion

           Armed with hundreds of cut-and-pasted complaints and boilerplate discovery motions,

    Strike 3 floods this courthouse (and others around the country) with lawsuits smacking of

    extortion. It treats this Court not as a citadel ofjustice, but as an ATM. Its feigned desire for

    legal process masks what it really seeks: for the Court to oversee a high-tech shakedown. This

    Court declines.

           The Court denies Strike 3’s ex parte motion [3] for discovery prior to the Rule 26(f)

    conference. Since this makes serving the defendant impossible, the Court denies as moot Strike

    3’s motion [4] extending time to effectuate service and dismisses the case without prejudice. An

V   accompanying order will issue.                                         .




    Date: November         201$
                                                                          C. Lamberth
                                                                       States District Judge




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